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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION



NATIONAL UNION FIRE INSURANCE   §
CO. OF PITTSBURGH, PENNSYLVANIA;§
ASSOCIATED ELECTRIC & GAS       §
INSURANCE SERVICES LTD.;        §
ALLIANZ GLOBAL RISKS US         §
INSURANCE CO.; COMMONWEALTH     §
INSURANCE CO.; NAVIGATORS       §
MANAGEMENT COMPANY, INC.; and   §
ARCH SPECIALTY INSURANCE CO.,   §
                                §                 CIVIL ACTION NO. H-10-0342
               Plaintiffs,      §
                                §
v.                              §
                                §
AKER KVAERNER/IHI, a General    §
Partnership,                    §
                                §
               Defendant.       §


                      MEMORANDUM OPINION AND ORDER


     National      Union     Fire     Insurance      Company      of      Pittsburgh,

Pennsylvania     (“National         Union”),   Associated        Electric        &     Gas

Insurance    Services      Ltd.     (“AEGIS”),    Allianz        Global     Risks       US

Insurance Company (“Allianz”), Commonwealth Insurance Company,

Navigators Management Company, Inc. (“Commonwealth”), Navigators

Management     Company,      Inc.    (“Navigators”),       and     Arch     Specialty

Insurance Company (“Arch”) (collectively “the Insurers”) bring this

action   against    Aker     Kvaerner/IHI      (“AK/IHI”)      seeking      an       order

compelling   AK/IHI     to    arbitration      or,    in   the     alternative,          a

declaratory judgment concerning certain insurance coverage issues.

Pending before the court is AK/IHI’s Motion to Dismiss (Docket
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Entry No. 13).         For the reasons explained below, the court will not

dismiss the complaint, but will transfer it to the District Court

for the Western District of Louisiana where related litigation

between the parties is pending.


                     I.    Factual and Procedural Background

       This action concerns an insurance coverage dispute arising

from       hurricane       damage         to    a      Liquid     Natural      Gas    (“LNG”)

regasification terminal in Cameron Parish, Louisiana.                                  AK/IHI

signed a contract with Cameron LNG, LLC, a subsidiary of Sempra

Energy,       in    2004   to    engineer,           procure,    and   construct      the    LNG

terminal.1          AK/IHI      was   in       the    later     stages   of    the   terminal

construction project when Hurricane Ike made landfall in eastern

Texas on September 13, 2008, and inflicted substantial flooding and

wind       damage    along      the   coasts          of   eastern     Texas   and    western

Louisiana.2          AK/IHI      is   a    Texas       General    Partnership        with    its

administrative offices in Houston, Texas. The partnership consists

of two partners, Aker Solutions US Inc. and IHI Inc.                                        Aker

Solutions US Inc. is a Delaware Corporation with its principal

place of business in Houston, Texas.3                           IHI Inc. is a Delaware


       1
      Complaint, Exhibit A to Defendant’s Memorandum of Law in
Support of Motion to Dismiss Complaint (“Defendant’s Memorandum”),
Docket Entry No. 15, ¶ 21.
       2
           Id. ¶¶ 23-26.
       3
      Complaint, Exhibit A to Defendant’s Memorandum, Docket Entry
No. 15, ¶ 6.

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Corporation with its principal place of business in New York.4                   The

Insurers have alleged that IHI’s principal place of business is in

Houston, Texas.5           AK/IHI, however, has provided an affidavit from

Keiichi Ishikane, a Senior Vice President-Sales for IHI Inc.,

stating     that     the    majority    of    IHI’s   executives   work   in   IHI’s

New York office, and that all major management, investment, and

financial decisions are            made in the New York office.6          Ishikane

states that IHI opened a sales office in Houston in 2010 that is

currently     staffed       by   only   one    employee.7    The   Insurers     have

provided no evidence contradicting Ishikane’s statements.

     The Insurers who bring this action were all involved in

underwriting Construction All Risk insurance policies for the LNG

terminal.8     National Union is a Pennsylvania corporation with its

principal place of business in New York.9                   AEGIS is a Bermuda

corporation with its principal place of business in Bermuda.10



     4
         Id. ¶ 7.
     5
      Complaint  to   Compel   Arbitration,   Alternatively   for
Declaratory Judgment (“Insurers’ Complaint”), Docket Entry No. 1,
¶ 9.
     6
      Declaration of Keiichi Ishikane, Exhibit I to Defendant’s
Memorandum, Docket Entry No. 20, ¶¶ 1-16.
     7
         Id. ¶¶ 17-18.
     8
      See, e.g. AEGIS Property Insurance Subscription                      Policy,
Exhibit A to Insurers’ Complaint, Docket Entry No. 1.
     9
         Insurers’ Complaint, Docket Entry No. 1, ¶ 3.
     10
          Id. ¶ 4.

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Allianz is a California corporation with its principal place of

business in Illinois.11 Commonwealth is a Canadian corporation with

its principal place of business in British Columbia.12                   Navigators

is a New York corporation with its principal place of business in

New York.13 Arch is a Nebraska corporation with its principal place

of business in New York.14


A.    The Insurance Policies

      The six policies (collectively “the Policies”) issued by the

Insurers each underwrite percentage shares of a total insurance

coverage of $400,000,000 on the LNG terminal.15                The Policies state

that the applicable law is that of New York.16

      One of the central disputes between the parties involves the

proper       interpretation        of   General       Clause    Three,     entitled

“Arbitration,”        found   in   each    of   the   Policies.17      The    clause

provides:


      11
           Id. ¶ 5.
      12
           Id. ¶ 6.
      13
           Id. ¶ 7.
      14
           Id. ¶ 8.
      15
      Property Insurance Subscription Policy,                       Exhibit   A   to
Insurers’ Complaint, Docket Entry No. 1, p. 4.
      16
           Id.
      17
      The text of General Condition Three in all six insurance
policies is provided in Exhibit A to Reply Brief of AK/IHI in
Further Support of Motion to Dismiss, Docket Entry No. 28.

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 3.   Arbitration

      If the Insured and the Underwriters fail to agree on
 the amount of loss, each will, on the written demand of
 either, select a competent and disinterested appraiser
 after:

       a.   The Insured has fully complied               with   all
       provisions of this Policy, and

       b.   The Underwriters have received a signed and
       sworn proof of loss from the Insured.

      Each will notify the other of the appraiser selected
 within 20 days of such demand.

      The appraisers will first select a competent and
 disinterested umpire. If the appraisers fail to agree
 upon an umpire within thirty (30) days then, on the
 request of the Insured or the Underwriters, the umpire
 will be selected by a judge of a court of record in the
 jurisdiction in which the arbitration is pending. The
 appraisers will then appraise the amount of loss, stating
 separately the Actual Cash Value and replacement cost
 value as of the date of loss and the amount of loss, for
 each item of physical loss or damage coverage of this
 Policy.

      If the appraisers fail to agree, they will submit
 their differences to the umpire. An award agreed to in
 writing by any two (2) will determine the amount of loss.

       The Insured and the Underwriters will each:

       a.    Pay its chosen appraiser; and

       b.   Bear equally the          other   expenses    of    the
       arbitration and umpire.

      A demand for arbitration shall not relieve the
 Insured of its continuing obligation to comply with the
 terms and conditions of this Policy.

      The Underwriters will not be held to have waived any
 of its rights by any act relating to arbitration.

      The Insured and the Underwriters shall each bear the
 expenses of their own appraisers and shall bear equally
 the expenses of the umpire.

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           The seat of arbitration shall be the State of
      New York.18

The parties dispute whether General Condition Three is a binding

arbitration clause, and, if it is, whether the clause applies to

disputes over coverage or just to disputes over the amount of loss.


B.    Hurricane Ike

      In the early morning of September 13, 2008, Hurricane Ike made

landfall    near      Galveston,   Texas,      causing   substantial       wind    and

flooding damage along the coasts of eastern Texas and western

Louisiana.       AK/IHI states that the storm inflicted substantial

damage     on   the   equipment    and   structures      at   the    LNG   terminal

construction site in Cameron Parish.19

      AK/IHI filed claims for its losses under the Policies.                      Over

a period of several months AK/IHI and the Insurers engaged in

negotiations concerning the amount of loss and issues of coverage

under the Policies.        The Insurers agreed to pay certain claims but

denied others.         In particular, the parties disagreed over two

issues:     first, whether the Insurers were obligated to pay for

dredging silt that had accumulated in the marine terminal after the

seventy-two hour period following the storm; and second, whether

certain other claims were excluded from coverage as “consequential


      18
      Property Insurance Subscription Policy,                       Exhibit   A     to
Insurers’ Complaint, Docket Entry No. 1, p. 19.
      19
      See Summary of Loss, Exhibit F to Insurers’ Complaint, Docket
Entry No. 1.

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losses.”20 AK/IHI alleges that the Insurers have failed to pay more

than $24 million of covered costs.21


C.      Procedural Background

        On February 1, 2010, AK/IHI brought suit against the Insurers

in the 38th Judicial District Court of Cameron Parish, Louisiana,

alleging breach of contract and bad faith regarding the Insurers’

handling of AK/IHI’s insurance claims.22                On February 4, 2010,

counsel for the Insurers provided AK/IHI with written notice of

their         demand    that    the   underlying   dispute    be    settled    in

arbitration.23          On the same day, the Insurers filed in this court

a Complaint to Compel Arbitration (Docket Entry No. 1).                       The

Insurers        argue    that   General   Condition   Three   in   the   Policies

requires AK/IHI to submit the dispute to arbitration.24                   In the

alternative, the Insurers seek declaratory judgments that the

additional insurance payments sought by AK/IHI are consequential

damages unavailable under the terms of the Policies,25 and that



        20
      Letter from Scott Ray to Greg Presswood, December 2, 2009,
Exhibit H to Insurers’ Complaint, Docket Entry No. 1.
        21
             Defendant’s Motion to Dismiss Complaint, Docket Entry No. 13,
¶ 3.
        22
      Complaint, Exhibit A to Defendant’s Memorandum, Docket Entry
No. 15.
        23
      Notice and Demand for Arbitration, February 4,                        2010,
Exhibit C to Defendant’s Memorandum, Docket Entry No. 15.
        24
             Insurers’ Complaint, Docket Entry No. 1, ¶¶ 40-43.
        25
             Id. ¶¶ 44-47.

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claims for the costs of dredging silt that accumulated more than 72

hours after the storm hit are also excluded under the Policies.26

     On February 19, 2010, the Insurers removed the Louisiana state

court action to the United States District Court for the Western

District of Louisiana, pleading both diversity jurisdiction and

federal question jurisdiction.27 On February 24, 2010, AK/IHI moved

to remand the action to state court.28                  A hearing on the Motion to

Remand     is    currently     scheduled         for    July       29,    2010,    in     the

Lake Charles Division of the United States District Court for the

Western District of Louisiana.

     On February 25, 2010, AK/IHI moved to dismiss the Insurers’

Complaint       in   this   court    pursuant      to    Federal         Rules    of    Civil

Procedure 12(b)(1) and 12(b)(6) (Docket Entry No. 13).                                 AK/IHI

argues that this court lacks subject matter jurisdiction over the

action because there is not complete diversity between the parties.

AH/IHI      further    argues       that    there       is    no     federal      question

jurisdiction because General Condition Three is not an agreement to

arbitrate coverage disputes, and thus the Federal Arbitration Act

and the New York Convention do not apply.                    AK/IHI also argues that

the Insurers have failed to state a claim upon which relief can be


     26
          Id. ¶¶ 48-51.
     27
      Notice of Removal, Exhibit G to Defendant’s Memorandum,
Docket Entry No. 18.
     28
      Motion to Remand, Exhibit H to Defendant’s Memorandum, Docket
Entry No. 19.

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granted because General Condition Three applies only to disputes

over the amount of loss, whereas the dispute between the parties

concerns   issues   of    coverage.     Finally,   AK/IHI   argues    that   a

declaratory judgment is not available to the Insurers under federal

law because there is a pending action in state court in Louisiana

concerning the same issues.


                    II.   Subject Matter Jurisdiction

     As a threshold matter, AK/IHI challenges whether the court has

subject matter jurisdiction to hear this action.            Federal Rule of

Civil Procedure 12(b)(1) governs challenges to a court’s subject

matter jurisdiction.       “A case is properly dismissed for lack of

subject matter jurisdiction when the court lacks the statutory or

constitutional power to adjudicate the case.”         Home Builders Ass’n

of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir.

1998) (quoting Nowak v. Ironworkers Local 6 Pension Fund, 81 F.3d

1182, 1187 (2d Cir. 1996)).           “Courts may dismiss for lack of

subject matter jurisdiction on any one of three bases: (1) the

complaint alone; (2) the complaint supplemented by undisputed facts

in the record; or (3) the complaint supplemented by undisputed

facts plus the court’s resolution of disputed facts.”                Clark v.

Tarrant County, 798 F.2d 736, 741 (5th Cir. 1986).            The plaintiff

bears the burden of demonstrating that subject matter jurisdiction

exists.    See Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir.

1981).

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       The   Insurers    have       pled    two     grounds    for    subject       matter

jurisdiction.         First,    the    Insurers       argue    that    the    court     has

original jurisdiction over this action pursuant to 9 U.S.C. § 201

et seq., which provide for the enforcement of the Convention on the

Recognition     and    Enforcement         of    Foreign    Arbitral       Awards     (“the

New York Convention”) in the United States.                          In particular, 9

U.S.C. § 203 provides:

       An action or proceeding falling under the Convention
       shall be deemed to arise under the laws and treaties of
       the United States. The district courts of the
       United States . . . shall have original jurisdiction over
       such an action or proceeding, regardless of the amount in
       controversy.

In applying the New York Convention, the Fifth Circuit has held

that    it   “contemplates      a    very       limited    inquiry    by    courts     when

considering a motion to compel arbitration,” and that the court

should compel arbitration if (1) there is an agreement in writing

to     arbitrate   the    dispute,         (2)     the    agreement        provides     for

arbitration in the territory of a Convention signatory, (3) the

agreement arises out of a commercial legal relationship, and (4) a

party to the agreement is not an American citizen.                          Francisco v.

Stolt Achievement MT, 293 F.3d 270, 273 (5th Cir. 2002).                        If these

requirements are met, the Convention requires district courts to

order arbitration.       Id.

       AK/IHI disputes the first element, i.e., whether there is an

agreement in writing to arbitrate the dispute. Determining whether

the parties agreed to arbitrate the dispute in question involves

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two considerations:               (1) whether there is a valid agreement to

arbitrate between the parties; and (2) whether the dispute in

question falls within the scope of that arbitration agreement. Am.

Heritage Life Ins. Co. v. Lang, 321 F.3d 533, 537 (5th Cir. 2003).

The court concludes that General Condition Three in the Policies is

an   agreement        to    arbitrate      something.        The   clause    is     titled

“Arbitration,”         and        the   text    of    the   clause    uses    the       term

“arbitration” five times.29                It specifies that “[t]he seat of the

arbitration shall be the State of New York.”30                       These references

show the intent of the parties to arbitrate at least a certain

category of disputes.

        What is less clear is “whether the dispute in question falls

within the scope of that arbitration agreement.” General Condition

Three appears to represent an agreement that the parties will

submit their dispute to arbitration “[i]f the Insured and the

Underwriters fail to agree on the amount of loss,” i.e., when there

is a factual dispute about the extent or dollar value of damages.

AK/IHI argues that this action concerns a legal dispute over the

coverage provided by the Policies, rather than a factual dispute

about        the   amount    of    loss.       The    Insurers   argue    that     General

Condition Three should be construed broadly, so as to encompass

disputes over coverage.


        29
      Property Insurance Subscription Policy,                            Exhibit    A     to
Insurers’ Complaint, Docket Entry No. 1, p. 19.
        30
             Id.

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       For the reasons explained below, the court will not decide

this question.         To decide whether subject matter jurisdiction

exists would require the court to rule on the merits of the

Insurers’ motion to compel arbitration.                   Because this decision

would bear on essentially similar questions pending in a previously

filed action currently under consideration in another United States

District Court, the court concludes that deciding whether coverage

issues fall within the scope of General Condition Three would

violate the first-to-file rule, which is discussed below.                      For the

same      reasons,    the     court    will     not   decide   whether    diversity

jurisdiction is present in this action.


                        III.     The First-to-File Rule

       The existence of a prior-filed action involving the same

parties     and   essentially         similar    issues   in   the    United    States

District Court for the Western District of Louisiana may limit the

actions that this court should properly take.


A.     The First-to-File Rule

       The first-to-file rule is based on “principles of comity and

sound judicial administration.”                 Save Power Ltd. v. Syntek Fin.

Corp., 121 F.3d 947, 950 (5th Cir. 1997).                  It “requires federal

district courts -- courts of coordinate jurisdiction and equal rank

--   to    exercise    care    to     avoid   interference     with    each    other’s

affairs.”      West Gulf Maritime Ass’n v. ILA Deep Sea Local 24, 751

F.2d 721, 728 (5th Cir. 1985).


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       “Under the first-to-file rule, when related cases are pending

before two federal courts, the court in which the case was last

filed may refuse to hear it if the issues raised by the cases

substantially overlap.”      Cadle Co. v. Whataburger of Alice, Inc.,

174 F.3d 599, 603 (5th Cir. 1999) (citing Save Power, 121 F.3d at

950; West Gulf Maritime, 751 F.2d at 728).         The rule vests in the

court in which the first of the two related actions was filed the

responsibility of “determin[ing] whether subsequently filed cases

involving substantially similar issues should proceed.”              Sutter

Corp. v. P & P Indus., Inc., 125 F.3d 914, 920 (5th Cir. 1997).

Therefore, the second-filed court should usually stay, dismiss, or

transfer the action over which it is presiding in deference to the

first-filed court.    See West Gulf Maritime, 751 F.2d at 729 & n. 1,

730.   This enables the court in which the first related action was

filed to “decide whether the second suit filed must be dismissed,

stayed or transferred and consolidated.” Sutter Corp., 125 F.3d at

920.     “In the absence of compelling circumstances, the Court

initially seized of a controversy should be the one to decide

whether it will try the case.” Mann Manufacturing, Inc. v. Hortex,

Inc., 439 F.2d 403, 407 (5th Cir. 1971).            In determining which

action was filed first, the court considers a removed case to have

been filed on the date it was filed in state court, rather than on

the date of removal.      See Igloo Products Corp. v. The Mounties,

Inc., 735 F.Supp. 214, 217 (S.D. Tex. 1990).


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B.     Analysis

       The action currently pending between the parties in the

Western District of Louisiana was filed in Louisiana state court on

February 1, 2010.31      This action was filed on February 4, 2010. The

action pending in Louisiana is therefore the first-filed action.

The two actions also deal with substantially similar issues. While

the action in Louisiana is a suit for breach of contract and the

action in this court seeks to compel arbitration, both actions are

essentially concerned with the question of what losses the Insurers

are obligated to cover under the Policies. The two actions concern

the same parties and the same facts.           The Insurers pled the same

grounds for federal jurisdiction in both actions, and AK/IHI has

challenged     federal   jurisdiction     in   both   actions   on   the   same

grounds.     There is no reason why the Insurers could not have filed

its motions to compel arbitration and seeking declaratory judgments

in the action currently pending in Louisiana.             Absent compelling

circumstances, see Mann Manufacturing, 439 F.2d at 407, the court

is obligated under the first-to-file rule to dismiss this action or

transfer it to the Western District of Louisiana.

       The Insurers argue that the first-to-file rule should not

apply in this action because compelling circumstances require an

exception.     First, the Insurers argue that the first-to-file rule



       31
      Complaint, Exhibit A to Defendant’s Memorandum, Docket Entry
No. 15, p. 1.

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should not apply because the Louisiana action was an anticipatory

lawsuit filed by AK/IHI for purposes of forum shopping.              The court

does not agree.      Alleging that another party engaged in “forum

shopping” does not establish that the opposing party’s choice of

forum was abusive.    All plaintiffs must choose a forum in which to

file their suit, and it is well settled that a plaintiff’s choice

of forum is entitled to “appropriate deference.”                 See In re

Volkswagen of America, Inc., 545 F.3d 304, 315 (5th Cir. 2008).

     The cases cited by the Insurers for the principle that courts

will disregard the first-to-file rule to prevent forum-shopping –-

e.g., British Borneo Exploration, Inc. v. Enserch Exploration,

Inc., 28 F.Supp.2d 999 (E.D. La. 1998), and 909 Corp. v. Village of

Bolingbrook Police Pension Fund, 741 F.Supp. 1290 (S.D. Tex. 1990)

-- involved situations in which parties sought to deprive an

aggrieved party of its choice of forum by filing anticipatory

declaratory   judgment    actions.        These   cases   do   not    support

disregarding the first-to-file rule in this action.            AK/IHI is the

party bringing the grievance and, thus, should be entitled to the

plaintiff’s traditional choice of forum. Moreover, AK/IHI seeks to

recover on the merits of its claims, and is not merely seeking a

declaratory judgment.     And finally, Cameron Parish, Louisiana, is

a logical forum in which to settle the dispute.                 This action

involves damage to property in Cameron Parish.            Because all the

parties to this action signed insurance policies covering property

in Cameron Parish, it is the one location to which all parties to

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the action have a connection.                     It is not abusive “forum shopping”

to file suit in the venue with the most factual connections to the

dispute.

         The Insurers also argue that the court should disregard the

first-to-file rule because “the balance of convenience favors the

later filed action.”32               Courts have recognized an exception to the

first-filed rule where the balance of convenience favors the

second-filed         action.              See    Employers   Ins.       of    Wasau    v.    Fox

Entertainment Group, Inc., 522 F.3d 271, 275 (2d Cir. 2008); Igloo

Products, 735 F.Supp. at 218.                       The Insurers, however, have not

established         that      the    Southern        District     of    Texas     is   a    more

convenient location than the Western District of Louisiana for

addressing the dispute.               As discussed above, Cameron Parish is the

location with the most factual connections to the dispute, and it

is   a        location   to    which        all    parties   to    the       dispute   have    a

connection. The dispute concerns property damage in Cameron Parish

and, thus, a court located in Cameron Parish will be a more

convenient         location         for     accessing    physical        evidence      or    for

obtaining testimony from witnesses who work at or live near the

affected         property.           The        United   States        District    Court      in

Lake Charles is located in Cameron Parish and is therefore a

convenient location in which to address this dispute.                             This court


         32
       Plaintiffs’ Surreply to Defendant’s Reply Brief in Further
Support of Motion to Dismiss, Docket Entry No. 37, p. 14, quoting
Multi-Shot, LLC v. B & T Rentals, Inc., 2010 WL 376373, *6 (S.D.
Tex.).

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sees no reason to disregard the first-to-file rule on the basis of

the parties’ convenience.


C.     Conclusion

       The court concludes that because the action between the

parties currently pending in the Western District of Louisiana was

filed before the action in this court, and because the two actions

concern    substantially       similar    issues,   the   first-to-file     rule

obliges this court to dismiss or transfer this action.              The court

further concludes that no compelling circumstances require the

court to disregard the first-to-file rule.                The court therefore

will transfer this action to the United States District Court for

the Western District of Louisiana.            The court makes no ruling on

AK/IHI’s Motion to Dismiss (Docket Entry No. 13).


                         IV.    Conclusion and Order

       For the reasons stated above, the court concludes that the

first-to-file rule obliges the court to transfer this action to the

court where the first-filed action is pending.              Accordingly, this

action    is   TRANSFERRED     to   the   Lake   Charles    Division   of     the

United States District Court for the Western District of Louisiana.

       SIGNED at Houston, Texas, on this the 16th day of June, 2010.




                                                        SIM LAKE
                                              UNITED STATES DISTRICT JUDGE


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